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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

In Re: ROGER UNGER                                                Case No.: 18-40443KKS

     Debtor                                   Chapter:                       7
______________________________________________//

     ORDER GRANTING MOTION FOR AMENDED ORDER (Doc. 72)

      THIS MATTER having come before the Court on the matter of the

Trustee's Motion for Amended Order (Doc. 72) and the Court after being otherwise

fully advised in the premises, it is:

      ORDERED:

      1.     The Trustee's Motion (Doc. 72) is GRANTED.

      2.     The Trustee is authorized to submit an amended Order that amends

the Order at Doc. 70 consistent with this ruling.

                                16th day of January 2020.
      DONE AND ORDERED this the ____

                                                  ______________________________
                                                  KAREN K. SPECIE
                                                  United States Bankruptcy Judge

This Order Prepared by: Sherry F. Chancellor (Amended in Chambers)

CC: All Parties in Interest

Sherry F. Chancellor is hereby directed to serve a copy of this order on interested
parties and file a certificate of service within 3 days of entry of the order
